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                 UNITED STATES DISTRICT COURT EASTERN
                         DISTRICT OF ARKANSAS
                             DELTA DIVISION


ARMIS ADVISORS, LLC, as Special
Administrator and Personal
Representative of the Estate of PEGGY
LYNN EVANS, deceased, and JACKIE
LYNN EVANS, deceased,

          Plaintiff,

v.                                           Case No. 2:19-cv-143-JM

BUNYOD KUSHNAZARAV, PAPER
IMPEX USA, INC., RAPTOR AUTO
SHIPPING, INC., and RPM FREIGHT
SYSTEMS, LLC,

          Defendants,

DOUGLAS HANLON,
       Intervenor.

RPM FREIGHT SYSTEMS, LLC
         Third Party Plaintiff,
v.

ZAFAR ISRAILOV, an individual,
         Third Party Defendant.



          Consent Judgment and Order of Dismissal With Prejudice




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      The parties to this action have reached a compromised settlement of all claims

between all parties through the process of mediation. Among other consideration, a

condition of the settlement is entry of a consent judgment against separate defendant

Paper Impex USA, Inc. in favor of plaintiff in the amount of Seven Hundred Fifty

Thousand Dollars ($750,000). Finding that all issues between all parties have been

resolved through successful mediation, the court hereby orders the following:

      1.       A consent judgment is hereby ordered against Paper Impex USA, Inc. in

favor of Plaintiff in the amount of Seven Hundred Fifty Thousand Dollars and No 100

($750,000.00).

      2.       The complaint of Plaintiff is hereby dismissed with prejudice.

      3.       The cross claims of all Defendants and third-party complaint of RPM Freight

Systems, LLC are hereby dismissed with prejudice.

      IT IS SO ORDERED this 3rd day of December, 2021.




                                         HON. JAMES M. MOODY, JR.
APPROVED:
s/Michael P. Vanderford
Michael P. Vanderford
ANDERSON, MURPHY & HOPKINS, L.L.P.
101 River Bluff Drive, Suite A
Little Rock, Arkansas 72202-2267
Attorney for Defendant Paper Impex USA, Inc.




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s/T. Ryan Scott
T. Ryan Scott
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3606 Southern Hills Boulevard
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Attorney for Armis Advisers, LLC as Special
Administrator and Personal Representative of
The Estate of Peggy Lynn Evans, deceased,
And Jackie Lynn Evans, deceased




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